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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
SOUTHERN DIVISION

FERMIN VINCENT VALENZUELA,

Plaintiff,

Vv.

CITY OF ANAHEIM, et al.,

Defendants.

 

VINCENT VALENZUELA and
XIMENA VALENZUELA by and
through their guardian PATRICIA

GONZALEZ,
Plaintiffs,
v.
CITY OF ANAHEIM, et al.,

Defendants.

Case No.: SACV 17-00278-CJC (DFMx),
consolidated with
SACV 17-02094-CJC (DFMx)

PHASE I VERDICT FORM

 
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VERDICT FORM

We, the jury in the above-entitled case, find the following verdict on the questions

submitted to us:

QUESTION 1:

Did Officer Woojin Jun or Officer Daniel Wolfe use excessive or unreasonable
force against Fermin Vincent Valenzuela Junior in violation of his constitutional rights

under the Fourth Amendment?

YES NO
Officer Woojin Jun
Officer Daniel Wolfe a

If you answered “YES” for either Officer, proceed to Question 2.
If you answered “NO” to both Officers, answer no further questions, proceed to the end,

and sign and date the verdict.

QUESTION 2:

Is Sergeant Daniel Gonzalez liable as a supervisory defendant for the unlawful

actions of Officer Woojin Jun or Officer Daniel Wolfe?
/ YES NO

Proceed to Question 3.

 

 
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QUESTION 3:

Is the City of Anaheim liable for the actions of any of its defendant police officers
based on an unlawful official policy, practice, or custom of the Anaheim Police

Department?

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YES NO

Proceed to Question 4.

QUESTION 4:

Is the City of Anaheim liable for the actions of any of its defendant police officers

based on the Anaheim Police Department’s failure to train?

YES YO NO

Proceed to Question 5.

QUESTION 5:

Did any of the defendant police officers act with a purpose to harm unrelated to
legitimate law enforcement objectives in violation of Plaintiffs’ substantive due process

rights to familial relations under the Fourteenth Amendment?

YES NO
Officer Woojin Jun

Officer Daniel Wolfe 4

Sergeant Daniel Gonzalez

Proceed to Question 6.

 

 
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QUESTION 6:

Did any officer use unreasonable force and commit battery under state law?

nal NO
Officer Woojin Jun
Officer Daniel Wolfe yi fe
Sergeant Daniel Gonzalez

If you answered “YES” for any of the officers, answer Question 7.
If you answered “NO” for all of the officers, proceed to Question 8.

QUESTION 7:

Was any officer’s unreasonable force and battery a substantial factor in causing

Fermin Vincent Valenzuela Junior’s death?

YES NO
Officer Woojin Jun #
Officer Daniel Wolfe Zz

Sergeant Daniel Gonzalez

Proceed to Question 8.

 

 
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QUESTION 8:
Was any officer negligent under state law?
YES if NO
Officer Woojin Jun

Officer Daniel Wolfe U

Sergeant Daniel Gonzalez

If you answered “YES” for any of the officers, answer Question 9.
If you answered “NO” for all of the officers, proceed to Question 10.

QUESTION 9:

Was any officer’s negligence a substantial factor in causing Fermin Vincent

Valenzuela Junior’s death?

YES, NO
Officer Woojin Jun

Officer Daniel Wolfe ff
Sergeant Daniel Gonzalez

Proceed to Question 10.

 

 
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QUESTION 10:

Was Fermin Vincent Valenzuela Junior also negligent during the incident in

question?

YES NO

If you answered “YES,” answer Question 11.
If you answered “NO,” proceed to Question 13.

QUESTION 11:

Was Fermin Vincent Valenzuela Junior’s negligence a substantial factor in causing

his death?

YES NO

If you answered “YES,” answer Question 12.

If you answered “NO,” proceed to Question 13.

 
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QUESTION 12:

What percentage of fault do you assign for negligence?

Officer Woojin Jun, Officer Daniel Wolfe, ‘ b Y,
0

and/or Sergeant Daniel Gonzalez

Fermin Vincent Valenzuela Junior / 5 %

Your total must equal 100%.

Proceed to Question 13.

QUESTION 13:

Did any of the defendant police officers violate Fermin Vincent Valenzuela

Junior’s rights under California Civil Code § 52.1?

YES NO
Officer Woojin Jun ww
Officer Daniel Wolfe VA
Sergeant Daniel Gonzalez

Please sign and date this form, and then return it to the Court.

Dated: Mod ler Aol7F

 

   

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